

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. AP-76,910






EX PARTE ZIYAD TAIYM, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NO. 2002-CR-8156 IN THE 226TH DISTRICT COURT


FROM BEXAR COUNTY






	Per curiam.


O P I N I O N



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for a writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of sexual assault
and sentenced to twenty years' imprisonment. 

	Applicant contends that his counsel rendered ineffective assistance because he failed to
timely file a notice of appeal.  Counsel filed an affidavit stating that he was hired to file an appeal
and failed to do so.

	The trial court has determined that counsel failed to timely file a notice of appeal.  We find
that Applicant is entitled to the opportunity to file an out-of-time appeal of the judgment of
conviction in Cause No. 2002-CR-8156 from the 226th District Court of Bexar County.  Applicant
is ordered returned to that time at which he may give a written notice of appeal so that he may then,
with the aid of counsel, obtain a meaningful appeal.  Within ten days of the issuance of this opinion,
the trial court shall determine whether Applicant is indigent.  If Applicant is indigent and wishes to
be represented by counsel, the trial court shall immediately appoint an attorney to represent
Applicant on direct appeal.  All time limits shall be calculated as if the sentence had been imposed
on the date on which the mandate of this Court issues.  We hold that, should Applicant desire to
prosecute an appeal, he must take affirmative steps to file a written notice of appeal in the trial court
within 30 days after the mandate of this Court issues.

	Copies of this opinion shall be sent to the Texas Department of Criminal Justice-Correctional
Institutions Division and Pardons and Paroles Division. 


Delivered: November 7, 2012

Do not publish


